Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 1 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 2 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 3 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 4 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 5 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 6 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 7 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 8 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 9 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 10 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 11 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 12 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 13 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 14 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 15 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 16 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 17 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 18 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 19 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 20 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 21 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 22 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 23 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 24 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 25 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 26 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 27 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 28 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 29 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 30 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 31 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 32 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 33 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 34 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 35 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 36 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 37 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 38 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 39 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 40 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 41 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 42 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 43 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 44 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 45 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 46 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 47 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 48 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 49 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 50 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 51 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 52 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 53 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 54 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 55 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 56 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 57 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 58 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 59 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 60 of 61
Case 1:17-bk-12930   Doc 12-2 Filed 11/20/17 Entered 11/20/17 11:19:22   Desc
                            Exhibit 2 Page 61 of 61
